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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    KENYA NELSON, individually and on                  Case No.: 23-CV-1879-CAB-SBC
      behalf of all other similarly situated,
12
                                        Plaintiff,       ORDER VACATING HEARING AND
13                                                       DENYING MOTION TO DISMISS
      v.
14
      AMERICAN TEXTILE COMPANY,                          [Doc. No. 20]
15
      INC.,
16                                    Defendant.
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18           Upon consideration of Defendant’s motion to dismiss the first amended complaint
19   (“FAC”), the Court finds that the motion is without merit. Assuming the truth of the factual
20   allegations in the FAC, it adequately states a plausible claim for relief that Plaintiff has
21   Article III standing to pursue. Accordingly, the motion is DENIED, and the hearing set
22   for March 6, 2024, is VACATED. Defendant shall answer the complaint by March 12,
23   2024.
24           It is SO ORDERED.
25   Dated: February 27, 2024
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